Case 08-14631-GMB          Doc 875    Filed 12/29/09 Entered 12/29/09 15:49:46   Desc Main
                                     Document     Page 1 of 8



    HALPERIN BATTAGLIA RAICHT, LLP
    555 Madison Avenue, 9th Floor
    New York, New York 10022
    Telephone (212) 765-9100
    Facsimile (212) 765-0964
    Donna H. Lieberman, Esq.
    Carrie E. Mitchell, Esq.

    COLE, SCHOTZ, MEISEL,
    FORMAN & LEONARD, P.A.
    A Professional Corporation
    Court Plaza North
    25 Main Street
    P.O. Box 800
    Hackensack, New Jersey 07602-0800
    201-489-3000
    201-489-1536 Facsimile
    Ilana Volkov, Esq.
    Felice R. Yudkin, Esq.

    Co-Counsel for the Class 10 Liquidation Trust

                                              : UNITED STATES BANKRUPTCY COURT
    In the Matter of:                         : FOR THE DISTRICT OF NEW JERSEY
                                              : HON. GLORIA M. BURNS
    SHAPES/ARCH HOLDINGS L.L.C., et al., : CASE NO. 08-14631 (GMB)
                                              : (Jointly Administered)
                         Reorganized Debtors. :
                                              :                   Chapter 11
                                              :
                                                COMPLAINT TO AVOID AND RECOVER
                                                         AVOIDABLE TRANSFERS
    THE CLASS 10 LIQUIDATION TRUST, by :
    and through Steven D. Sass, as Trustee,   :
                                              :
                         Plaintiff,           :
                                              :
            v.                                : ADV. NO. 09-
                                              :
    MAGRETECH,                                :
                                              :
                         Defendant.           :
                                              :




    45765/0004-6216954v2
Case 08-14631-GMB          Doc 875     Filed 12/29/09 Entered 12/29/09 15:49:46                Desc Main
                                      Document     Page 2 of 8



             The Class 10 Liquidation Trust (the “Class 10 Trust”), by and through Steven D.

    Sass, as Trustee (together with the Class 10 Trust, the “Plaintiff’), as and for its complaint

    to avoid certain transfers made by one or more of Shapes/Arch Holdings L.L.C., Shapes

    LLC, Ultra LLC, Delair LLC or Accu-Weld LLC (together, the “Debtors”) to or for the

    benefit of the Magretech (“Defendant”), on knowledge as to itself and as to all other

    matters on information and belief, respectfully alleges as follows:

                                    NATURE OF THE ACTION

             1.       By this action, Plaintiff seeks a money judgment resulting from certain

    transfers made by one or more of the Debtors to Defendant prior to the commencement of

    the Debtors’ bankruptcy cases, as more specifically set forth in the chart annexed as

    Exhibit A hereto. Specifically, Plaintiff seeks entry of a judgment against Defendant (i)

    avoiding the Avoidable Transfer (defined below) pursuant to 11 U.S.C. § 547(b), or, in

    the alternative, pursuant to 11 U.S.C. §§ 548 and 544(b); (ii) preserving for the benefit of

    the Class 10 Trust, as the designee of the Debtors’ estates, the Avoidable Transfer or the

    value thereof pursuant to 11 U.S.C. § 551; (iii) pursuant to 11 U.S.C. § 550(a), (iii)

    directing Defendant to pay to Plaintiff an amount to be determined at trial that is not less

    than the amount of the Avoidable Transfer, plus interest and costs; and (iv) disallowing

    any claim of Defendant against the Debtors pursuant to 11 U.S.C. § 502(d).

                                   JURISDICTION AND VENUE

             2.       The Court has subject matter jurisdiction over this adversary proceeding

    pursuant to 28 U.S.C. §§ 1331 and 1334.

             3.       This proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             4.       Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 et seq.



                                                       2
    45765/0004-6216954v2
Case 08-14631-GMB           Doc 875    Filed 12/29/09 Entered 12/29/09 15:49:46                Desc Main
                                      Document     Page 3 of 8



                                    FACTUAL BACKGROUND

             5.       On March 16, 2008 (the “Petition Date”), the Debtors filed voluntary

    petitions for relief under Chapter 11 of title 11 of the United States Code (the

    “Bankruptcy Code”).

             6.       The Debtors’ Third Amended Joint Plan, as amended (the “Plan”) was

    confirmed by Order of this Court dated July 24, 2008 and became effective on August 8,

    2008 (the “Effective Date”).

             7.       Sections 5.2 and 5.3 of the Plan, together with the Shapes/Arch Holdings

    L.L.C. Plan Administration Agreement (the “Plan Administration Agreement”), an

    exhibit to the Plan, created and govern the Class 10 Liquidation Trust.

             8.       Pursuant to Sections 5.2 and 5.3 of the Plan and Article IV of the Plan

    Administration Agreement, as of the Effective Date, the Trust was vested with the right

    to, among other things, commence, prosecute and settle avoidance actions that would

    otherwise have belonged to the Debtors, for the benefit of the holders of beneficial

    interests in the Class 10 Liquidation Trust.

                             COUNT I - TO AVOID PREFERENTIAL
                           TRANSFERS PURSUANT TO 11 U.S.C. § 547(b)

             9.       Plaintiff repeats and realleges each and every allegation contained in

    paragraphs 1 through 8 above as if fully set forth herein.

             10.      During the 90 day period prior to the Petition Date, one or more of the

    Debtors made certain transfers totaling not less than $60,347.85 to, or for the benefit of,

    the Defendant in the amounts set forth in the chart annexed as Exhibit A hereto, which is

    incorporated by reference herein (the “Avoidable Transfer”).




                                                       3
    45765/0004-6216954v2
Case 08-14631-GMB          Doc 875     Filed 12/29/09 Entered 12/29/09 15:49:46                Desc Main
                                      Document     Page 4 of 8



             11.      The Avoidable Transfer was made to, or for the benefit of, the Defendant,

    then a creditor of one or more of the Debtors on account of an existing debt to the

    Defendant, per the Debtors’ books and records.

             12.      The Avoidable Transfer was made on account of antecedent debt(s) owed

    by one or more of the Debtors to or for the benefit of Defendant before such Avoidable

    Transfer was made.

             13.      The Avoidable Transfer was made on or within 90 days prior to the

    Petition Date.

             14.      The Avoidable Transfer was made while the respective Debtor or Debtors

    were insolvent.

             15.      The Avoidable Transfer enabled Defendant to recover more than it would

    have received if (a) the Avoidable Transfer had not been made, (b) the case were a case

    under Chapter 7 of the Bankruptcy Code, and (c) Defendant received payment of its debt

    to the extent provided by the provisions of the Bankruptcy Code.

             16.      By reason of the foregoing, the Avoidable Transfer should be avoided and

    set aside as preferential.

                          COUNT II - TO AVOID FRAUDULENT
                    TRANSFERS PURSUANT TO 11 U.S.C. §§ 548 and 544(b)

             17.      Plaintiff repeats and realleges each and every allegation contained in

    paragraphs 1 through 16 above as if fully set forth herein.

             18.      Alternatively, as a result of the Avoidable Transfer, one or more of the

    Debtors received less than reasonably equivalent value in exchange for the Avoidable

    Transfer.




                                                       4
    45765/0004-6216954v2
Case 08-14631-GMB          Doc 875     Filed 12/29/09 Entered 12/29/09 15:49:46                Desc Main
                                      Document     Page 5 of 8



             19.      The Avoidable Transfer either (a) was made while the respective Debtor

    or Debtors were insolvent or were in the zone of insolvency; (b) left the respective

    Debtor or Debtors with unreasonably small capital; and/or (c) was made while the

    respective Debtor or Debtors intended to incur or believed that it had incurred debts that

    it would not be able to pay as they became due.

             20.      By reason of the foregoing, the Avoidable Transfer should be avoided and

    set aside as a fraudulent transfer.

                                COUNT III - TO PRESERVE
                           PROPERTY PURSUANT TO 11 U.S.C. § 551

             21.      Plaintiff repeats and realleges each and every allegation contained in

    paragraphs 1 through 20 above as if fully set forth herein.

             22.      The Avoidable Transfer is property of the estate of one or more of the

    Debtors.

             23.      Therefore, the Avoidable Transfer, or the value thereof, should be

    preserved for the benefit of the Debtors’ estates pursuant to § 551 of the Bankruptcy

    Code.

                            COUNT IV - TO RECOVER AVOIDABLE
                           TRANSFERS PURSUANT TO 11 U.S.C. § 550

             24.      Plaintiff repeats and realleges each and every allegation contained in

    paragraphs 1 through 23 above as if fully set forth herein.

             25.      Defendant was the initial transferee of the Avoidable Transfer, the

    immediate or mediate transferee of such initial transferee, or the person for whose benefit

    the Avoidable Transfer was made.




                                                       5
    45765/0004-6216954v2
Case 08-14631-GMB          Doc 875     Filed 12/29/09 Entered 12/29/09 15:49:46                Desc Main
                                      Document     Page 6 of 8



             26.      Pursuant to 11 U.S.C. § 550(a), Plaintiff is entitled to recover from

    Defendant an amount to be determined at trial that is not less than $60,347.85, plus

    interest thereon to the date of payment and the costs of this action.

                                COUNT V - TO DISALLOW
                           CLAIMS PURSUANT TO 11 U.S.C. § 502(d)

             27.      Plaintiff repeats and realleges each and every allegation contained in

    paragraphs 1 through 26 above as if fully set forth herein.

             28.      Defendant was the initial transferee of the Avoidable Transfer, the

    immediate or mediate transferee of such initial transferee, or the person for whose benefit

    the Avoidable Transfer was made.

             29.      Pursuant to 11 U.S.C. § 502(d), any claims of Defendant against the

    Debtors must be disallowed until such time as Defendant pays to the Trust an amount

    equal to the aggregate amount of the Avoidable Transfer.




                                                        6
    45765/0004-6216954v2
Case 08-14631-GMB          Doc 875    Filed 12/29/09 Entered 12/29/09 15:49:46            Desc Main
                                     Document     Page 7 of 8



             WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this

    Court enter judgment against Defendant (a) avoiding the Avoidable Transfer pursuant to

    11 U.S.C. § 547(b), or, in the alternative, pursuant to 11 U.S.C. §§ 548 and 544(b); (b)

    preserving for the benefit of the Debtors’ estates the Avoidable Transfer or the value

    thereof pursuant to 11 U.S.C. § 551; (c) pursuant to 11 U.S.C. § 550(a), directing

    Defendant to pay to Plaintiff an amount to be determined at trial that is not less than

    $60,347.85, plus interest and costs; (d) disallowing any claim of Defendant against the

    Debtors pursuant to 11 U.S.C. § 502(d); and (e) granting the Class 10 Liquidation Trust

    such other and further relief as may appear just and proper.

                                                           COLE, SCHOTZ, MEISEL,
                                                           FORMAN & LEONARD, P.A.




                                                           By: /s/Ilana Volkov
                                                               Ilana Volkov, Esq.

                                                                              -and-

                                                           HALPERIN BATTAGLIA RAICHT,
                                                           LLP
                                                           Donna H. Lieberman, Esq.
                                                           Carrie E. Mitchell, Esq.
                                                           555 Madison Avenue, 9th Floor
                                                           New York, New York 10022
                                                           Telephone: (212) 765-9100
                                                           Facsimile: (212) 765-0964

                                                           Co-Counsel for the Class 10 Liquidation
                                                           Trust
    DATED: December 29, 2009




                                                     7
    45765/0004-6216954v2
 Case 08-14631-GMB      Doc 875     Filed 12/29/09 Entered 12/29/09 15:49:46   Desc Main
                                   DocumentExhibit A 8 of 8
                                                Page
                                          Magretech Inc.
                                      301 County Road #177
                                       Bellevue, OH 44811


    Debtor   Transfer Detail      Check Date   Amount of Transfer
Shapes        0000116086          1/11/2008             60,346.85
                               Total                    60,346.85
